                                                                             FORM 1
                                                                                                                                                        Page No:       1
                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                          ASSET CASES

Case No.:                      15-56833                                                                      Trustee Name:                           Mark H. Shapiro
Case Name:                     ABU-HAMDAN, OMAR                                                              Date Filed (f) or Converted (c):        11/18/2015 (f)
For the Period Ending:         03/31/2018                                                                    §341(a) Meeting Date:                   12/16/2015
                                                                                                             Claims Bar Date:                        07/05/2016
                           1                                   2                     3                                  4                        5                          6
                   Asset Description                       Petition/             Estimated Net Value               Property                 Sales/Funds            Asset Fully
                    (Scheduled and                       Unscheduled            (Value Determined by               Abandoned                Received by           Administered
               Unscheduled (u) Property)                    Value                      Trustee,              OA =§ 554(a) abandon.           the Estate               (FA)/
                                                                               Less Liens, Exemptions,                                                            Gross Value of
                                                                                  and Other Costs)                                                                 Remaining

 Ref. #
1       12326 Willoway Plymouth, MI                           $400,000.00                     $15,000.00                                               $0.00               $15,000.00
        48170 Single Family Residence
2       14103 Robertson Dearborn, MI                           $50,000.00                     $15,000.00                                               $0.00               $15,000.00
        48126 Single Family Residence
3       On Deposit Huntington Bank                                  $500.00                         $0.00                                              $0.00                      FA
4       Misc. Household Goods In                                   $3,000.00                        $0.00                                              $0.00                      FA
        Debtor's Possession
5       Misc. Clothing and Personal                                $5,000.00                        $0.00                                              $0.00                      FA
        Effects In Debtor's Possession
6       Term Life West Coast life                                      $1.00                        $0.00                                              $0.00                      FA
7       IRA Putnam Investments                                 $35,000.00                        $781.84                                             $781.84                      FA
8       Zohd Enterprises 100% owner                                    $1.00                        $1.00                                             $11.82                      FA
Asset Notes:       Investigation of business via subpoenas
9       2009 Toyota RAV 4 In Debtor's                          $11,000.00                      $7,525.00                                         $7,525.00                        FA
        Possession
10      14 parcels of real property in            (u)              $5,000.00                   $5,000.00                                               $0.00                $5,000.00
        Lebanon
Asset Notes:     Order Approving Sale of Real Property under Section 363(b) entered 4/22/16 [docket no. 80]
                 Motion For Sale of Property under Section 363(b) Filed by Trustee Mark H. Shapiro filed 4/4/16 [docket no. 60]
                 Employed Special Counsel to clear title and prepare to sell real property - no purchase price is known yet
11      Tax Refunds                             (u)             $3,978.00                        $3,978.00                                       $6,930.58                        FA
12      1981 Mercedes Benz                        (u)              $5,405.00                   $5,405.00                                         $5,405.00                        FA
Asset Notes:     Report of Sale filed 1/19/17 [docket no. 188]
                 Order Approving Auction Sale of Mercedes Benz per court order entered 11/29/16 [docket no. 177]
                 Motion to Sell Property Free & Clear under Section 363(f) with all Liens, Claims & Interests Attaching to the Proceeds of Sale filed 11/9/16
                 [docket no. 173]
                 Order Compelling Turn Over entered 9/27/16 [docket no. 152]
                 Motion to Compel Turn Over filed 7/22/16 [docket no. 120]
                 Asset associated with adversary proceeding (see asset no. 13) - avoidance of fraudulent conveyance
13      Adversary proceeding filed against       (u)           $135,827.38                   $135,827.38                                          $3,004.85                       FA
        Diana Abu-Hamdan - Case No.
        16-04319
Asset Notes:     Order Granting the Trustee's Motion for an Order Approving Settlement Agreement, and Supplement to the Court's August 30, 2017 Bench
                 Opinion entered 8/30/17 [docket no. 220]
                 Motion to Compromise filed 6/5/17 included this adversary as well as asset no. 15 (adversary)
                 Default judgment entered - total of money judgment is from $124,900 from the value of proceeds Diana received from sale of 7406 N. US
                 Hwy 23, and $10,927.38 from the value of the payments made to Ford Motor Credit for the benefit of Diana entered 7/1/16 [docket no. 22] -
                 Mercedes Benz is listed as asset no. 12 and 7404 N. US Hwy 23, Oscoda, MI is listed as asset 16 were put into the Trustee's name per
                 default judgment entered 7/1/16 [docket no. 22]
                 Second Amended Complaint filed to avoid transfers of 7404 N. US Hwy 23, Osoda, MI (see asset no. 16), 1981 Mercedes Benz (see asset no.
                 12), proceeds received from sale of 7406 N. US Hwy 23, Oscoda, MI and monthly payments made to Ford Motor Credit to pay Defendant's
                 car loan
14      Adversary proceeding filed against        (u)          $36,000.00                    $27,000.00                                        $27,000.00                         FA
        Mary Stackpoole - Case No.
        16-04764

                      15-56833-tjt            Doc 229          Filed 04/25/18              Entered 04/25/18 12:53:26                        Page 1 of 12
                                                                                                     SUBTOTALS                      $0.00                      $0.00
                                                                           FORM 1
                                                                                                                                                     Page No:     2
                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                        ASSET CASES

Case No.:                     15-56833                                                                     Trustee Name:                          Mark H. Shapiro
Case Name:                    ABU-HAMDAN, OMAR                                                             Date Filed (f) or Converted (c):       11/18/2015 (f)
For the Period Ending:        03/31/2018                                                                   §341(a) Meeting Date:                  12/16/2015
                                                                                                           Claims Bar Date:                       07/05/2016
                          1                                   2                     3                                4                        5                        6
                   Asset Description                     Petition/              Estimated Net Value             Property                Sales/Funds             Asset Fully
                    (Scheduled and                     Unscheduled             (Value Determined by             Abandoned               Received by            Administered
               Unscheduled (u) Property)                  Value                       Trustee,            OA =§ 554(a) abandon.          the Estate                (FA)/
                                                                              Less Liens, Exemptions,                                                          Gross Value of
                                                                                 and Other Costs)                                                               Remaining

Asset Notes:     Order Approving Compromise entered 11/4/16 [docket no. 171]
                 Motion to Compromise Adversary Proceeding filed 10/10/16 [docket no. 156]
15      Adversary proceeding filed against   (u)         $226,268.09                    $226,268.09                                           $44,000.00              $36,000.00
        Diana Abu-Hamdan and Pated
        Investments, L.L.C. - Case No.
        16-04850
Asset Notes:     Order Granting the Trustee's Motion for an Order Approving Settlement Agreement, and Supplement to the Court's August 30, 2017 Bench
                 Opinion entered 8/30/17 [docket no. 220]
                 Motion for Order Approving Settlement Agreement filed 6/5/17 [docket no. 194]
16      7404 N. US Hwy. 23, Oscoda,             (u)          $115,680.80                 $115,680.80                                     $140,299.48                         FA
        MI
Asset Notes:    Order Approving Sale of Real Property entered 10/18/16 [docket no. 163]
                Motion to Sell Real Property filed 9/22/16 [docket no. 150]
                Asset associated with adversary proceeding (see asset no. 13) - avoidance of fraudulent conveyance
17      Contempt costs                           (u)           $4,000.00                       $4,000.00                                       $4,000.00                     FA
18      Contempt costs                           (u)              $650.00                      $650.00                                            $650.00                    FA


TOTALS (Excluding unknown value)                                                                                                          Gross Value of Remaining Assets
                                                          $1,037,311.27                   $562,117.11                                    $239,608.57                  $71,000.00



 Major Activities affecting case closing:
  03/29/2018     Collection of compromise. Sale of property in Lebanon via Order in Bankruptcy Court
  03/28/2017     Collection of judgment on adversary case no. 16-04319 against Diana Abu-Hamdan through garnishment; First Amended Complaint filed
                 3/24/17 in adversary case no. 16-04850; Lien put on property in Lebanon to stop any potential sale of real property
  03/31/2016     Administration and investigation of nonexempt assets
  02/26/2016     Objection to exemptions


 Initial Projected Date Of Final Report (TFR):            10/31/2018                               /s/ MARK H. SHAPIRO
 Current Projected Date Of Final Report (TFR):            06/30/2019                               MARK H. SHAPIRO




                      15-56833-tjt          Doc 229           Filed 04/25/18             Entered 04/25/18 12:53:26                     Page 2 of 12
                                                                                                                                                    Page No: 1
                                                                              FORM 2
                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                     15-56833                                                                  Trustee Name:                        Mark H. Shapiro
Case Name:                   ABU-HAMDAN, OMAR                                                          Bank Name:                           Bank of Texas
Primary Taxpayer ID #:       **-***8221                                                                Checking Acct #:                     ******3228
Co-Debtor Taxpayer ID #:                                                                               Account Title:                       Checking Account

For Period Beginning:        04/01/2017                                                                Blanket bond (per case limit):       $2,000,000.00
For Period Ending:           03/31/2018                                                                Separate bond (if applicable):


     1                 2               3                                       4                                           5                 6                   7

Transaction      Check /            Paid to/               Description of Transaction                  Uniform          Deposit         Disbursement        Balance
   Date           Ref. #         Received From                                                        Tran Code           $                  $


04/14/2016                  Omar Abu Hamdan               Order Compelling Debtor to Turn                *              $8,306.84                 $0.00              $8,306.84
                                                          Over Property of the Estate per
                                                          court order entered 3/21/16 [docket
                                                          no. 48]
                     {7}                                  Nonexempt equity in               $781.84   1129-000                                                       $8,306.84
                                                          IRA Putnam
                                                          Investments
                     {9}                                  Nonexempt equity in             $7,525.00   1129-000                                                       $8,306.84
                                                          vehicle
04/28/2016           (8)    The Huntington National       Turnover of bank account at                 1129-000             $11.82                 $0.00              $8,318.66
                            Bank                          Huntington National Bank
04/28/2016           (11)   The Huntington National       Order Compelling Debtor to Turn             1224-000          $6,447.45                 $0.00          $14,766.11
                            Bank                          Over Tax Refunds per court order
                                                          entered 5/3/16 [docket no. 89]
04/29/2016                  Bank of Texas                 Account Analysis Fee                        2600-000                 $0.00              $5.54          $14,760.57
05/31/2016                  Bank of Texas                 Account Analysis Fee                        2600-000                 $0.00             $23.36          $14,737.21
06/30/2016                  Bank of Texas                 Account Analysis Fee                        2600-000                 $0.00             $22.95          $14,714.26
07/29/2016                  Bank of Texas                 Account Analysis Fee                        2600-000                 $0.00             $23.67          $14,690.59
08/11/2016                  Abdel Khalik Samir Chafik     Wire transfer to special counsel in         2420-000                 $0.00        $1,114.79            $13,575.80
                                                          Lebanon to file lien against real
                                                          property held by the Debtor -
                                                          approval by Steve Wagner of the
                                                          OUST
08/11/2016        5001      Steinberg Shapiro & Clark     First Interim Application of                3110-000                 $0.00        $3,783.76                $9,792.04
                                                          Attorney for Trustee fees per court
                                                          order entered 8/11/16 [docket no.
                                                          139]
08/11/2016        5002      Steinberg Shapiro & Clark     First Interim Application of                3120-000                 $0.00        $1,216.24                $8,575.80
                                                          Attorney for Trustee expenses per
                                                          court order entered 8/11/16 [docket
                                                          no. 139]
08/26/2016           (11)   Omar H Abuhamdan              Balance due re: Order Compelling            1224-000            $483.13                 $0.00              $9,058.93
                                                          Debtor to Turn Over Tax Refunds
                                                          per court order entered 5/3/16
                                                          [docket no. 89]
08/31/2016                  Bank of Texas                 Account Analysis Fee                        2600-000                 $0.00             $17.28              $9,041.65
09/06/2016           (13)   The Huntington National       Payment towards default judgment            1249-000          $2,321.61                 $0.00          $11,363.26
                            Bank                          entered 7/1/16 [docket no. 22 in adv.
                                                          proceeding] and amended default
                                                          judgment entered 9/28/16 [docket no.
                                                          41 in adv. proceeding]



                      15-56833-tjt          Doc 229        Filed 04/25/18               Entered 04/25/18 12:53:26                      Page 3 of 12
                                                                                                  SUBTOTALS             $17,570.85                 $6,207.59
                                                                                                                                                   Page No: 2
                                                                              FORM 2
                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                     15-56833                                                                 Trustee Name:                        Mark H. Shapiro
Case Name:                   ABU-HAMDAN, OMAR                                                         Bank Name:                           Bank of Texas
Primary Taxpayer ID #:       **-***8221                                                               Checking Acct #:                     ******3228
Co-Debtor Taxpayer ID #:                                                                              Account Title:                       Checking Account

For Period Beginning:        04/01/2017                                                               Blanket bond (per case limit):       $2,000,000.00
For Period Ending:           03/31/2018                                                               Separate bond (if applicable):


     1                 2               3                                      4                                           5                 6                   7

Transaction      Check /            Paid to/              Description of Transaction                  Uniform          Deposit         Disbursement        Balance
   Date           Ref. #         Received From                                                       Tran Code           $                  $


09/06/2016        5003      Higer Court Reporting        Transcript charge of examination of         2990-000                 $0.00          $212.10            $11,151.16
                                                         Omar Abu-Hamdan - Volume II -
                                                         Invoice no. 301-JH
09/30/2016                  Bank of Texas                Account Analysis Fee                        2600-000                 $0.00             $16.62          $11,134.54
10/11/2016           (13)   Plymouth-Canton              Payment towards default judgment            1249-000             $46.45                 $0.00          $11,180.99
                            Community Schools            entered 7/1/16 [docket no. 22 in adv.
                                                         proceeding] and amended default
                                                         judgment entered 9/28/16 [docket no.
                                                         41 in adv. proceeding]
10/12/2016        5004      Trustee Insurance Agency     Insurance premium on 7404 N. US             2410-000                 $0.00             $49.35          $11,131.64
                                                         Highway, 23, Oscoda, MI 48750
                                                         (Trustee is in the process of selling
                                                         real property)
10/27/2016           (13)   Plymouth-Canton              Payment towards default judgment            1249-000             $17.23                 $0.00          $11,148.87
                            Community Schools            entered 7/1/16 [docket no. 22 in adv.
                                                         proceeding] and amended default
                                                         judgment entered 9/28/16 [docket no.
                                                         41 in adv. proceeding]
10/31/2016                  Bank of Texas                Account Analysis Fee                        2600-000                 $0.00             $17.92          $11,130.95
11/15/2016           (13)   Plymouth-Canton              Payment towards default judgment            1249-000             $46.44                 $0.00          $11,177.39
                            Community Schools            entered 7/1/16 [docket no. 22 in adv.
                                                         proceeding] and amended default
                                                         judgment entered 9/28/16 [docket no.
                                                         41 in adv. proceeding]
11/15/2016           (14)   Mary Stackpoole              Payment per compromise order                1241-000          $27,000.00                $0.00          $38,177.39
                                                         entered 11/4/16 [docket no. 171]




                      15-56833-tjt          Doc 229       Filed 04/25/18               Entered 04/25/18 12:53:26                      Page 4 of 12
                                                                                                 SUBTOTALS             $27,110.12                   $295.99
                                                                                                                                                    Page No: 3
                                                                               FORM 2
                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                     15-56833                                                                  Trustee Name:                         Mark H. Shapiro
Case Name:                   ABU-HAMDAN, OMAR                                                          Bank Name:                            Bank of Texas
Primary Taxpayer ID #:       **-***8221                                                                Checking Acct #:                      ******3228
Co-Debtor Taxpayer ID #:                                                                               Account Title:                        Checking Account

For Period Beginning:        04/01/2017                                                                Blanket bond (per case limit):        $2,000,000.00
For Period Ending:           03/31/2018                                                                Separate bond (if applicable):


     1                 2               3                                       4                                            5                 6                  7

Transaction      Check /            Paid to/              Description of Transaction                   Uniform           Deposit         Disbursement        Balance
   Date           Ref. #         Received From                                                        Tran Code            $                  $


11/21/2016                  Landmark Title Corp.         Order Approving Sale of Real                    *           $115,680.80                  $0.00          $153,858.19
                                                         Property entered 10/18/16 [docket
                                                         no. 163] - Report of Sale filed
                                                         12/6/16 [docket no. 179]
                  {16}                                   Sale price of property        $140,000.00    1210-000                                                   $153,858.19
                  {16}                                   Summer Tax 11/18/16 -            $299.48     1210-000                                                   $153,858.19
                                                         1/1/17
                                                         Winter Tax 1/1/16 to            ($686.13)    2820-000                                                   $153,858.19
                                                         11/18/16
                                                         Owner's title insurance         ($864.05)    2500-000                                                   $153,858.19
                                                         to Landmark Title
                                                         Corp.
                                                         Commission to                  ($7,350.00)   3510-000                                                   $153,858.19
                                                         Lighthouse Realty
                                                         Oscoda North
                                                         Commission to Century          ($2,450.00)   3510-000                                                   $153,858.19
                                                         21 - Tawas Realty
                                                         Transfer Tax - County           ($154.00)    2820-000                                                   $153,858.19
                                                         to Iosco County
                                                         Register of Deeds
                                                         Transfer Tax - State to        ($1,050.00)   2820-000                                                   $153,858.19
                                                         Iosco County Register
                                                         of Deeds
                                                         Courier/Wire Fees to              ($20.00)   2500-000                                                   $153,858.19
                                                         Landmark Title Corp.
                                                         2014 Taxes to Iosco            ($5,262.80)   4700-000                                                   $153,858.19
                                                         County Treasurer
                                                         2015 Taxes to Iosco            ($4,183.47)   4700-000                                                   $153,858.19
                                                         County Treasurer
                                                         2016 Summer Tax to             ($2,565.89)   2820-000                                                   $153,858.19
                                                         Oscoda Township
                                                         Treasurer
                                                         Final Water Bill                  ($32.34)   2500-000                                                   $153,858.19
11/21/2016        5005      Trustee Insurance Agency     Insurance premium on 7404 N. US              2410-000                  $0.00          $102.00           $153,756.19
                                                         Highway, 23, Oscoda, MI 48750 for
                                                         November 1 through closing
                                                         November 18, 2016
11/29/2016           (13)   Plymouth-Canton              Payment towards default judgment             1249-000              $46.44                $0.00          $153,802.63
                            Community Schools            entered 7/1/16 [docket no. 22 in adv.
                                                         proceeding] and amended default
                                                         judgment entered 9/28/16 [docket no.
                                                         41 in adv. proceeding]
                      15-56833-tjt         Doc 229        Filed 04/25/18               Entered 04/25/18 12:53:26                        Page 5 of 12
                                                                                                 SUBTOTALS              $115,727.24                  $102.00
                                                                                                                                                   Page No: 4
                                                                              FORM 2
                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                     15-56833                                                                  Trustee Name:                       Mark H. Shapiro
Case Name:                   ABU-HAMDAN, OMAR                                                          Bank Name:                          Bank of Texas
Primary Taxpayer ID #:       **-***8221                                                                Checking Acct #:                    ******3228
Co-Debtor Taxpayer ID #:                                                                               Account Title:                      Checking Account

For Period Beginning:        04/01/2017                                                                Blanket bond (per case limit):      $2,000,000.00
For Period Ending:           03/31/2018                                                                Separate bond (if applicable):


     1                 2                3                                     4                                           5                 6                   7

Transaction      Check /            Paid to/               Description of Transaction                  Uniform          Deposit        Disbursement        Balance
   Date           Ref. #         Received From                                                        Tran Code           $                 $


11/30/2016                  Bank of Texas                 Account Analysis Fee                        2600-000                $0.00             $68.27          $153,734.36
12/05/2016        5006      Insurance Partners            Bond renewal                                2300-000                $0.00             $10.16          $153,724.20
                            Agency, Inc.
12/13/2016           (13)   Plymouth-Canton               Payment towards default judgment            1249-000             $73.60                $0.00          $153,797.80
                            Community Schools             entered 7/1/16 [docket no. 22 in adv.
                                                          proceeding] and amended default
                                                          judgment entered 9/28/16 [docket no.
                                                          41 in adv. proceeding]
12/19/2016           (12)   R. J. Montgomery and          Auction proceeds for sale of                1229-000          $5,405.00                $0.00          $159,202.80
                            Associates, Inc.              Mercedes per court order entered
                                                          11/29/16 [docket no. 177]
12/30/2016                  Bank of Texas                 Account Analysis Fee                        2600-000                $0.00          $250.21            $158,952.59
01/05/2017        5007      Steinberg Shapiro & Clark     Second Interim Application of               3110-000                $0.00       $39,719.74            $119,232.85
                                                          Attorney for Trustee fees per court
                                                          order entered 1/4/17[docket no. 185]
01/05/2017        5008      Steinberg Shapiro & Clark     Second Interim Application of               3120-000                $0.00          $564.16            $118,668.69
                                                          Attorney for Trustee expenses per
                                                          court order entered 1/4/17[docket no.
                                                          185]
01/30/2017           (13)   Plymouth-Canton               Payment towards default judgment            1249-000                $6.54              $0.00          $118,675.23
                            Community Schools             entered 7/1/16 [docket no. 22 in adv.
                                                          proceeding] and amended default
                                                          judgment entered 9/28/16 [docket no.
                                                          41 in adv. proceeding]
01/31/2017                  Bank of Texas                 Account Analysis Fee                        2600-000                $0.00          $201.98            $118,473.25
02/14/2017           (13)   Plymouth-Canton               Payment towards default judgment            1249-000            $190.69                $0.00          $118,663.94
                            Community Schools             entered 7/1/16 [docket no. 22 in adv.
                                                          proceeding] and amended default
                                                          judgment entered 9/28/16 [docket no.
                                                          41 in adv. proceeding]
02/27/2017           (13)   Plymouth-Canton               Payment towards default judgment            1249-000             $61.83                $0.00          $118,725.77
                            Community Schools             entered 7/1/16 [docket no. 22 in adv.
                                                          proceeding] and amended default
                                                          judgment entered 9/28/16 [docket no.
                                                          41 in adv. proceeding]
02/28/2017                  Bank of Texas                 Account Analysis Fee                        2600-000                $0.00          $172.79            $118,552.98
03/10/2017        5009      Steven R. Chapski, CPA        First Interim Application of                3410-000                $0.00        $1,225.00            $117,327.98
                                                          Accountant for Trustee fees per
                                                          court order entered 3/10/17 [docket
                                                          no. 192]




                      15-56833-tjt          Doc 229        Filed 04/25/18               Entered 04/25/18 12:53:26                     Page 6 of 12
                                                                                                  SUBTOTALS             $5,737.66                $42,212.31
                                                                                                                                                Page No: 5
                                                                           FORM 2
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                     15-56833                                                               Trustee Name:                       Mark H. Shapiro
Case Name:                   ABU-HAMDAN, OMAR                                                       Bank Name:                          Bank of Texas
Primary Taxpayer ID #:       **-***8221                                                             Checking Acct #:                    ******3228
Co-Debtor Taxpayer ID #:                                                                            Account Title:                      Checking Account

For Period Beginning:        04/01/2017                                                             Blanket bond (per case limit):      $2,000,000.00
For Period Ending:           03/31/2018                                                             Separate bond (if applicable):


     1                 2                3                                  4                                           5                 6                   7

Transaction      Check /            Paid to/           Description of Transaction                   Uniform          Deposit        Disbursement        Balance
   Date           Ref. #         Received From                                                     Tran Code           $                 $


03/27/2017           (13)   Plymouth-Canton            Payment towards default judgment            1249-000             $35.19               $0.00           $117,363.17
                            Community Schools          entered 7/1/16 [docket no. 22 in adv.
                                                       proceeding] and amended default
                                                       judgment entered 9/28/16 [docket no.
                                                       41 in adv. proceeding]
03/31/2017                  Bank of Texas              Account Analysis Fee                        2600-000                $0.00          $190.09            $117,173.08
04/17/2017           (13)   Plymouth-Canton            Payment towards default judgment            1249-000             $90.48               $0.00           $117,263.56
                            Community Schools          entered 7/1/16 [docket no. 22 in adv.
                                                       proceeding] and amended default
                                                       judgment entered 9/28/16 [docket no.
                                                       41 in adv. proceeding]
04/19/2017           (17)   Diana N Abuhamdan          Motion to Compromise to be filed -          1229-000          $4,000.00               $0.00           $121,263.56
                                                       Contempt costs per court orders
                                                       [docket nos. 124 and 152]
04/28/2017                  Bank of Texas              Account Analysis Fee                        2600-000                $0.00          $184.46            $121,079.10
05/15/2017           (13)   Plymouth-Canton            Payment towards default judgment            1249-000                $6.53             $0.00           $121,085.63
                            Community Schools          entered 7/1/16 [docket no. 22 in adv.
                                                       proceeding] and amended default
                                                       judgment entered 9/28/16 [docket no.
                                                       41 in adv. proceeding]
05/15/2017        5010      Steven Howell, Esq.        Mediation retainer per court order          2990-000                $0.00        $2,500.00            $118,585.63
                                                       entered 4/28/17 in adversary
                                                       proceeding case no. 16-04850
                                                       [docket no. 61]
05/30/2017           (13)   Plymouth-Canton            Payment towards default judgment            1249-000             $61.82               $0.00           $118,647.45
                            Community Schools          entered 7/1/16 [docket no. 22 in adv.
                                                       proceeding] and amended default
                                                       judgment entered 9/28/16 [docket no.
                                                       41 in adv. proceeding]
05/31/2017                  Bank of Texas              Account Analysis Fee                        2600-000                $0.00          $194.34            $118,453.11
06/30/2017                  Bank of Texas              Account Analysis Fee                        2600-000                $0.00          $184.97            $118,268.14
07/05/2017                  Dickinson Wright PLLC      Refund on Check# 5010 regarding             2990-002                $0.00       ($1,131.20)           $119,399.34
                                                       Mediation retainer
07/31/2017                  Bank of Texas              Account Analysis Fee                        2600-000                $0.00          $192.29            $119,207.05
08/28/2017           (18)   Omar H Abuhamdan           Contempt costs per court order              1229-000            $650.00               $0.00           $119,857.05
                                                       entered 8/3/17 [docket no. 206]
08/31/2017                  Bank of Texas              Account Analysis Fee                        2600-000                $0.00          $192.36            $119,664.69
09/18/2017                  Integrity Bank             Transfer Funds                              9999-000                $0.00      $119,664.69                  $0.00




                      15-56833-tjt           Doc 229    Filed 04/25/18              Entered 04/25/18 12:53:26                      Page 7 of 12
                                                                                               SUBTOTALS             $4,844.02               $122,172.00
                                                                                                                                                     Page No: 6
                                                                             FORM 2
                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                       15-56833                                                                   Trustee Name:                        Mark H. Shapiro
Case Name:                     ABU-HAMDAN, OMAR                                                           Bank Name:                           Bank of Texas
Primary Taxpayer ID #:         **-***8221                                                                 Checking Acct #:                     ******3228
Co-Debtor Taxpayer ID #:                                                                                  Account Title:                       Checking Account

For Period Beginning:          04/01/2017                                                                 Blanket bond (per case limit):       $2,000,000.00
For Period Ending:             03/31/2018                                                                 Separate bond (if applicable):


     1                2                  3                                      4                                            5                 6                  7

Transaction        Check /             Paid to/           Description of Transaction                  Uniform              Deposit        Disbursement         Balance
   Date             Ref. #          Received From                                                    Tran Code               $                 $



                                                TOTALS:                                                                 $170,989.89         $170,989.89                  $0.00
                                                    Less: Bank transfers/CDs                                                  $0.00         $119,664.69
                                                Subtotal                                                                $170,989.89          $51,325.20
                                                    Less: Payments to debtors                                                 $0.00               $0.00
                                                Net                                                                     $170,989.89          $51,325.20




For the period of 04/01/2017 to 03/31/2018                            For the entire history of the account between 04/14/2016 to 3/31/2018

Total Compensable Receipts:                            $4,808.83      Total Compensable Receipts:                                    $195,608.57
Total Non-Compensable Receipts:                            $0.00      Total Non-Compensable Receipts:                                      $0.00
Total Comp/Non Comp Receipts:                          $4,808.83      Total Comp/Non Comp Receipts:                                  $195,608.57
Total Internal/Transfer Receipts:                          $0.00      Total Internal/Transfer Receipts:                                    $0.00


Total Compensable Disbursements:                       $2,317.22      Total Compensable Disbursements:                                $75,943.88
Total Non-Compensable Disbursements:                       $0.00      Total Non-Compensable Disbursement                                   $0.00
Total Comp/Non Comp Disbursements:                     $2,317.22      Total Comp/Non Comp Disbursement                                $75,943.88
Total Internal/Transfer Disbursements:               $119,664.69      Total Internal/Transfer Disbursements:                         $119,664.69




                     15-56833-tjt            Doc 229       Filed 04/25/18              Entered 04/25/18 12:53:26                        Page 8 of 12
                                                                                                                                                    Page No: 7
                                                                              FORM 2
                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                     15-56833                                                                 Trustee Name:                         Mark H. Shapiro
Case Name:                   ABU-HAMDAN, OMAR                                                         Bank Name:                            Integrity Bank
Primary Taxpayer ID #:       **-***8221                                                               Checking Acct #:                      ******6833
Co-Debtor Taxpayer ID #:                                                                              Account Title:                        DDA

For Period Beginning:        04/01/2017                                                               Blanket bond (per case limit):        $2,000,000.00
For Period Ending:           03/31/2018                                                               Separate bond (if applicable):


     1                 2                3                                     4                                            5                 6                   7

Transaction      Check /            Paid to/               Description of Transaction                 Uniform           Deposit         Disbursement         Balance
   Date           Ref. #         Received From                                                       Tran Code            $                  $


09/18/2017                  Bank of Texas                 Transfer Funds                             9999-000       $119,664.69                   $0.00          $119,664.69
09/26/2017        5001      Steinberg Shapiro & Clark     Third Interim Application of               3110-000                  $0.00       $23,853.00             $95,811.69
                                                          Attorney for Trustee fees per court
                                                          order entered 9/26/17 [docket no.
                                                          223]
09/26/2017        5002      Steinberg Shapiro & Clark     Third Interim Application of               3120-000                  $0.00        $2,715.49             $93,096.20
                                                          Attorney for Trustee expenses per
                                                          court order entered 9/26/17 [docket
                                                          no. 223]
09/29/2017           (15)   Pated Investments, LLC        Payment per Order Granting the             1249-000          $20,000.00                 $0.00          $113,096.20
                                                          Trustee's Motion for an Order
                                                          Approving Settlement Agreement,
                                                          and Supplement to the Court's
                                                          August 30, 2017 Bench Opinion
                                                          entered 8/30/17 [docket no. 220]
09/29/2017        5003      Wayne County Register of      Filing fee for Recording Real Estate       2990-000                  $0.00             $27.00          $113,069.20
                            Deeds                         Mortgage
09/30/2017                  Integrity Bank                Bank Service Fee                           2600-000                  $0.00             $63.72          $113,005.48
10/02/2017           (15)   Pated Investments LLC         Payment per Order Granting the             1249-000           $4,000.00                 $0.00          $117,005.48
                                                          Trustee's Motion for an Order
                                                          Approving Settlement Agreement,
                                                          and Supplement to the Court's
                                                          August 30, 2017 Bench Opinion
                                                          entered 8/30/17 [docket no. 220]
10/31/2017                  Integrity Bank                Bank Service Fee                           2600-000                  $0.00          $172.32            $116,833.16
11/08/2017           (15)   Pated Investments             Payment per Order Granting the             1249-000           $4,000.00                 $0.00          $120,833.16
                                                          Trustee's Motion for an Order
                                                          Approving Settlement Agreement,
                                                          and Supplement to the Court's
                                                          August 30, 2017 Bench Opinion
                                                          entered 8/30/17 [docket no. 220]
11/30/2017                  Integrity Bank                Bank Service Fee                           2600-000                  $0.00          $172.22            $120,660.94
12/04/2017           (15)   Pated Investments LLC         Payment per Order Granting the             1249-000           $4,000.00                 $0.00          $124,660.94
                                                          Trustee's Motion for an Order
                                                          Approving Settlement Agreement,
                                                          and Supplement to the Court's
                                                          August 30, 2017 Bench Opinion
                                                          entered 8/30/17 [docket no. 220]
12/08/2017        5004      Insurance Partners            Bond payment                               2300-000                  $0.00             $65.01          $124,595.93
                            Agency, Inc.
12/31/2017                  Integrity Bank                Bank Service Fee                           2600-000                  $0.00          $184.38            $124,411.55



                      15-56833-tjt           Doc 229       Filed 04/25/18               Entered 04/25/18 12:53:26                      Page 9 of 12
                                                                                                 SUBTOTALS             $151,664.69                $27,253.14
                                                                                                                                                 Page No: 8
                                                                             FORM 2
                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                     15-56833                                                                Trustee Name:                        Mark H. Shapiro
Case Name:                   ABU-HAMDAN, OMAR                                                        Bank Name:                           Integrity Bank
Primary Taxpayer ID #:       **-***8221                                                              Checking Acct #:                     ******6833
Co-Debtor Taxpayer ID #:                                                                             Account Title:                       DDA

For Period Beginning:        04/01/2017                                                              Blanket bond (per case limit):       $2,000,000.00
For Period Ending:           03/31/2018                                                              Separate bond (if applicable):


     1                 2                3                                    4                                           5                 6                  7

Transaction      Check /            Paid to/              Description of Transaction                 Uniform          Deposit         Disbursement         Balance
   Date           Ref. #         Received From                                                      Tran Code           $                  $


01/09/2018           (15)   Pated Investments LLC        Payment per Order Granting the             1249-000          $4,000.00                $0.00          $128,411.55
                                                         Trustee's Motion for an Order
                                                         Approving Settlement Agreement,
                                                         and Supplement to the Court's
                                                         August 30, 2017 Bench Opinion
                                                         entered 8/30/17 [docket no. 220]
01/31/2018                  Integrity Bank               Bank Service Fee                           2600-000                 $0.00          $189.04           $128,222.51
02/08/2018           (15)   Pated Investments LLC        Payment per Order Granting the             1249-000          $4,000.00                $0.00          $132,222.51
                                                         Trustee's Motion for an Order
                                                         Approving Settlement Agreement,
                                                         and Supplement to the Court's
                                                         August 30, 2017 Bench Opinion
                                                         entered 8/30/17 [docket no. 220]
02/28/2018                  Integrity Bank               Bank Service Fee                           2600-000                 $0.00          $175.30           $132,047.21
03/06/2018           (15)   Pated Investments LLC        Payment per Order Granting the             1249-000          $4,000.00                $0.00          $136,047.21
                                                         Trustee's Motion for an Order
                                                         Approving Settlement Agreement,
                                                         and Supplement to the Court's
                                                         August 30, 2017 Bench Opinion
                                                         entered 8/30/17 [docket no. 220]
03/08/2018        5005      Mark H. Shapiro, Trustee     First Interim Application of Trustee       2100-000                 $0.00        $8,419.30           $127,627.91
                                                         fees per court order entered 3/8/18
                                                         [docket no. 226]
03/08/2018        5006      Mark H. Shapiro, Trustee     First Interim Application of Trustee       2200-000                 $0.00        $3,639.20           $123,988.71
                                                         expenses per court order entered
                                                         3/8/18 [docket no. 226]
03/16/2018        5007      Chapski & Chapski,           Ex Parte Second Interim Application        3410-000                 $0.00          $350.00           $123,638.71
                            CPAs, LLP                    of Accountant for Trustee fees per
                                                         court order entered 3/16/18 [docket
                                                         no. 228]
03/31/2018                  Integrity Bank               Bank Service Fee                           2600-000                 $0.00          $187.98           $123,450.73




                     15-56833-tjt            Doc 229      Filed 04/25/18               Entered 04/25/18 12:53:26                     Page 10 of 12
                                                                                                SUBTOTALS             $12,000.00               $12,960.82
                                                                                                                                                     Page No: 9
                                                                             FORM 2
                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                       15-56833                                                                   Trustee Name:                        Mark H. Shapiro
Case Name:                     ABU-HAMDAN, OMAR                                                           Bank Name:                           Integrity Bank
Primary Taxpayer ID #:         **-***8221                                                                 Checking Acct #:                     ******6833
Co-Debtor Taxpayer ID #:                                                                                  Account Title:                       DDA

For Period Beginning:          04/01/2017                                                                 Blanket bond (per case limit):       $2,000,000.00
For Period Ending:             03/31/2018                                                                 Separate bond (if applicable):


     1                2                  3                                      4                                            5                 6                  7

Transaction        Check /             Paid to/           Description of Transaction                  Uniform              Deposit        Disbursement          Balance
   Date             Ref. #          Received From                                                    Tran Code               $                 $



                                                TOTALS:                                                                 $163,664.69          $40,213.96            $123,450.73
                                                    Less: Bank transfers/CDs                                            $119,664.69               $0.00
                                                Subtotal                                                                 $44,000.00          $40,213.96
                                                    Less: Payments to debtors                                                 $0.00               $0.00
                                                Net                                                                      $44,000.00          $40,213.96




For the period of 04/01/2017 to 03/31/2018                            For the entire history of the account between 09/18/2017 to 3/31/2018

Total Compensable Receipts:                           $44,000.00      Total Compensable Receipts:                                     $44,000.00
Total Non-Compensable Receipts:                            $0.00      Total Non-Compensable Receipts:                                      $0.00
Total Comp/Non Comp Receipts:                         $44,000.00      Total Comp/Non Comp Receipts:                                   $44,000.00
Total Internal/Transfer Receipts:                    $119,664.69      Total Internal/Transfer Receipts:                              $119,664.69


Total Compensable Disbursements:                      $40,213.96      Total Compensable Disbursements:                                $40,213.96
Total Non-Compensable Disbursements:                       $0.00      Total Non-Compensable Disbursement                                   $0.00
Total Comp/Non Comp Disbursements:                    $40,213.96      Total Comp/Non Comp Disbursement                                $40,213.96
Total Internal/Transfer Disbursements:                     $0.00      Total Internal/Transfer Disbursements:                               $0.00




                     15-56833-tjt            Doc 229      Filed 04/25/18               Entered 04/25/18 12:53:26                       Page 11 of 12
                                                                                                                                                    Page No: 10
                                                                            FORM 2
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                       15-56833                                                                  Trustee Name:                        Mark H. Shapiro
Case Name:                     ABU-HAMDAN, OMAR                                                          Bank Name:                           Integrity Bank
Primary Taxpayer ID #:         **-***8221                                                                Checking Acct #:                     ******6833
Co-Debtor Taxpayer ID #:                                                                                 Account Title:                       DDA

For Period Beginning:          04/01/2017                                                                Blanket bond (per case limit):       $2,000,000.00
For Period Ending:             03/31/2018                                                                Separate bond (if applicable):


     1                2                  3                                  4                                               5                 6                  7

Transaction        Check /             Paid to/          Description of Transaction                  Uniform              Deposit        Disbursement          Balance
   Date             Ref. #          Received From                                                   Tran Code               $                 $


                                                                                                                              NET                NET              ACCOUNT
                                                       TOTAL - ALL ACCOUNTS                                               DEPOSITS          DISBURSE             BALANCES

                                                                                                                     $214,989.89           $91,539.16             $123,450.73




For the period of 04/01/2017 to 03/31/2018                           For the entire history of the account between 09/18/2017 to 3/31/2018

Total Compensable Receipts:                          $48,808.83      Total Compensable Receipts:                                    $239,608.57
Total Non-Compensable Receipts:                           $0.00      Total Non-Compensable Receipts:                                      $0.00
Total Comp/Non Comp Receipts:                        $48,808.83      Total Comp/Non Comp Receipts:                                  $239,608.57
Total Internal/Transfer Receipts:                   $119,664.69      Total Internal/Transfer Receipts:                              $119,664.69


Total Compensable Disbursements:                     $42,531.18      Total Compensable Disbursements:                               $116,157.84
Total Non-Compensable Disbursements:                      $0.00      Total Non-Compensable Disbursements:                                 $0.00
Total Comp/Non Comp Disbursements:                   $42,531.18      Total Comp/Non Comp Disbursements:                             $116,157.84
Total Internal/Transfer Disbursements:              $119,664.69      Total Internal/Transfer Disbursements:                         $119,664.69




                                                                                                /s/ MARK H. SHAPIRO
                                                                                                MARK H. SHAPIRO




                     15-56833-tjt            Doc 229     Filed 04/25/18               Entered 04/25/18 12:53:26                       Page 12 of 12
